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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


      ALEKSEJ GUBAREV,
      XBT HOLDING S.A., and
      WEBZILLA, INC.                                                    Case No.
        Plaintiffs,
                                                                   0:17-cv-60426-UU
      v.

      BUZZFEED, INC. and
      BEN SMITH
        Defendants.


              PLAINTIFFS’ MOTION TO SUPPLEMENT THE RECORD WITH THE
                  HOROWITZ REPORT AND FOR AN INDICATIVE RULING

           The present case comes before this Court on an explicitly “limited” remand from the
  Eleventh Circuit Court of Appeal permitting Plaintiffs only to “move the district court for relief
  that would allow the District Court to Supplement the Record with the Horowitz Report” (an
  official United States Government Report). The Eleventh Circuit’s limited remand also
  permitted this Court to inform the Eleventh Circuit if supplementation of the record to include
  the Horowitz Report would “alter [i.e. reverse] the court’s previously issued summary judgment
  order.” 1
           Accordingly, and in conformity with the Order from the Eleventh Circuit, Plaintiffs
  respectfully move that this Court:
           (a)    Order that the record be supplemented to include the Horowitz Report; and
           (b)    Issue an Order informing the Eleventh Circuit Court of Appeals that, on a full
                  remand, the Court would reverse its previously-issued order granting summary
                  judgment to Defendants.

  1
    The Eleventh Circuit’s limited remand did not authorize Plaintiffs to seek, nor does it
  contemplate, this Court issuing the more comprehensive type of order required by Federal Rules
  of Civil Procedure 62.1. Instead, the Eleventh Circuit’s remand instructs this Court only to
  either: a) deny the request for supplementation; or b) allow the request for supplementation and
  (should it wish) state that that supplementation would “alter” (i.e. reverse) its order granting
  summary judgment.
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         In further support of this Motion, Plaintiffs state as follows.
                                          INTRODUCTION
         On December 9, 2019, the United States Office of the Inspector General (“OIG”)
  released an official United States Government Report entitled “Review of Four FISA
  Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation,” a
  comprehensive and extensive review of the genesis and methods of the FBI’s investigation into
  President Trump’s relationship with Russia and the FBI’s subsequent efforts to support a warrant
  to surveil former Trump campaign advisor Carter Page (the “Horowitz Report”). 2 A true and
  accurate copy of Horowitz Report, as publicly released by the United States Government, is filed
  herewith as Exhibit 1. As part of the Horowitz Report, the OIG sought to determine the
  relevance of a series of privately-produced opposition-research memoranda created by
  Christopher Steele, a former British spy who was operating his own private for-profit business
  research firm.
         Some of the Horowitz Report’s newly-released conclusions constitute significant and
  persuasive evidence that conflicts with a key factual claim upon which this Court based its
  summary judgment finding – namely that, in publishing the defamatory accusations about
  Plaintiffs contained in Steele’s Report 166, Defendants made a “fair report” of “official
  proceedings,” and are therefore immune from suit for defamation.



  2
    This thorough review included materials previously-unavailable to the public, including
  interviews with (among others) then-Assistant Director of the FBI’s Counterintelligence
  Division, E.W. “Bill” Priestap (who submitted an affidavit in this case, as discussed below),
  former FBI Director Comey, Department of Justice attorney Bruce Ohr, and Christopher Steele.
  More specifically, according to the Horowitz Report, “the OIG examined more than one million
  documents that were in the Department’s and FBI’s possession and conducted over 170
  interviews involving more than 100 witnesses. These witnesses included former FBI Director
  Comey, former Attorney General (AG) Loretta Lynch, former Deputy Attorney General Sally
  Yates, former Deputy Attorney General Rod Rosenstein, former Acting-Attorney General and
  Acting-Deputy Attorney General and current FBI-General-Counsel Dana Boente, former FBI
  Deputy Director Andrew McCabe, former FBI General Counsel James Baker, and Department
  attorney Bruce Ohr and his wife. The OIG also interviewed Christopher Steele and current and
  former employees of other U.S. government agencies.... [The OIG was] given broad access to
  relevant materials by the Department and the FBI. In addition, [the OIG] reviewed relevant
  information that other U.S. government agencies provided the FBI in the course of the Crossfire
  Hurricane investigation.” Horowitz Report, p. i.

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         More specifically, this Court concluded that Defendants met their burden of proving by a
  preponderance of the evidence that publishing Report 166 was a “fair and accurate” “report” of
  an “official proceeding” simply by presenting evidence that the FBI possessed Report 166 at the
  time that Defendants published. 3 Therefore, by necessity, this Court must also have concluded
  that no reasonable jury could find otherwise (since the privilege question must be submitted to a
  jury if underlying facts are in dispute). See, e.g., Wenz v. Becker, 948 F.Supp. 319 (S.D.N.Y.
  1996) (denying summary judgment where the plaintiff raised genuine issues of material fact as to
  whether the publication was a report on a judicial proceeding and, if it was, if it was fair and
  true); Pisani v. Staten Island Univ. Hospital, 440 F.Supp.2d 168, 178 (E.D.N.Y. 2006)
  (“[B]ecause the Court finds that a reasonable jury could decide that the Hospital statement was
  not a fair and true report, the Court cannot conclude that, as a matter of law, the Hospital
  statement is protected by the judicial proceeding privilege.”); Ocean State Seafood, Inc. v.
  Capital Newspaper, Div. of Hearst Corp., 492 N.Y.S.2d 175, 179 (App.Div. 1985) (“We are
  similarly of the view that a jury question is also presented with respect to defendants’ defense


  3
    The only evidence presented by Defendants that the FBI even possessed Report 166 when they
  published was an affidavit signed only by the FBI’s then Assistant Director, Bill Priestap. As is
  discussed in more detail below, the OIG interviewed Mr. Priestap extensively, and reviewed his
  contemporaneous notes as part of its investigation, yet still concluded that the FBI did not have
  Report 166 at the time Defendants published the defamatory materials. And, as Plaintiffs have
  argued on appeal, even if the FBI had possessed Report 166 at the time of publication, that was
  not sufficient, in itself, to satisfy Defendants’ burden to prove: (1) that the FBI was then
  “investigating” claims in Report 166 (and, more specifically, accusations concerning Plaintiffs);
  and (2) that Defendants knew (i.e. relied upon) that fact in their reporting. Plaintiffs have
  explained that neither this Court, nor Defendants, nor their amici, cited any New York case in
  which §74 privilege was afforded to the purported content of any “investigation” that was not
  explicitly identified as relevant to that investigation by some specific record, report,
  memorandum, or other official statement or document, or by a culminating public action
  accusing the plaintiff, such as a firing or arrest, and Plaintiffs are unaware of any such case. See
  Appellants’ Reply Brief to Eleventh Circuit (“Reply Brief”), filed herewith as Exhibit 4, p. 47.
  But, now that the Horowitz report has revealed findings regarding relevant and previously-
  classified matters, it would constitute a miscarriage of justice for the Court not to recognize that
  the Horowitz Report’s findings conflict with Mr. Preistap’s affidavit. Indeed, because the FBI
  could not have investigated the claims of a memo it did not yet have (Report 166), and
  Defendants could not have known of any investigation of that memo which did not, in fact, exist,
  this Court’s consideration of the Horowitz Report’s findings could obviate the need for an
  analysis of whether Defendants had met burdens (1) and (2) above.

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  that the article’s account of the imposition of a fine against plaintiffs in Justice Court was
  statutorily privileged as a ‘fair and true report of any judicial proceeding.’”).
         However, as the Court will see, the Horowitz Report concluded that the FBI had not, in
  fact, received Report 166 before Defendants published it. See Horowitz Report, p. 94, fn. 215;
  pp. 175-176, fns. 317, 319, and 320; p. 176; compare DE 208-8 (memoranda as published by
  Buzzfeed), filed herewith as Exhibit 2.
         Presented with this new, previously-classified, and previously-unavailable, information,
  Plaintiffs moved for the Eleventh Circuit Court of Appeals either to supplement the record with
  the Horowitz Report itself, or to issue a limited remand to this Court for the purpose of
  determining whether the record should be so supplemented.
         On March 13, 2020, the Eleventh Circuit issued an explicitly limited remand to allow
  Plaintiffs to seek two specific and discrete rulings from this Court:
         The Court REMANDS this case for the limited purpose of permitting Plaintiffs to
         move the district court for relief that would allow the district court to supplement
         the record with the Horowitz Report.
         …If the district court issues an order stating that the record should be supplemented
         and the Horowitz Report would alter the court’s previously issued summary
         judgment order, the parties shall seek a full remand of this case.
  D.E. 444.
                                            BACKGROUND
  I.     This Court’s Summary Judgment Findings
         On January 10, 2017, Defendants Buzzfeed, Inc. and Ben Smith published an article
  entitled These Reports Allege Trump Has Deep Ties to Russia, along with 17 separate and
  distinct reports authored by Christopher Steele. Included in this collection of reports – which
  Buzzfeed dubbed the “Dossier” – was Steele’s Report 166, dated December 13, 2016.
         Report 166, the only one of Steele’s reports produced after the 2016 Presidential election,
  contained raw information that Steele himself categorized as “unsolicited” and needing
  verification. D.E. 234-5, Ex. 66, p.42. Report 166 was also the only report to mention the
  Plaintiffs, and it contained the false, defamatory, criminal accusations concerning the private
  Plaintiffs which are the subject of this action.
         On December 19, 2018, this Court allowed Defendants’ Motion for Summary Judgment,
  issuing an Order and Judgment dismissing Plaintiffs’ Complaint. D.E. 388 [the “Summary


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  Judgment Order”]; D.E. 390. This Court based its dismissal on its choice of New York’s
  privilege law and, more specifically, New York Civil Rights Law, §74 (a choice which Plaintiffs
  have disputed, both in this Court and on appeal). 4
         As this Court noted at summary judgment, it was undisputed at the time that the FBI
  received certain specific Steele reports at various times and from different sources. However, in
  its Summary Judgment Order, this Court (at Defendants’ urging) largely considered the 17
  separately-dated reports as if they constituted a unified whole, such that it deemed investigation
  of any information in any of them to be akin to investigation of all of the information in every
  report. Throughout its Summary Judgment Order, this Court applied the Buzzfeed-coined term
  “Dossier” to a collection of 17 separate documents that Buzzfeed received from David Kramer, a
  private individual who had received the documents from Steele. 5
         This Court’s conclusion that the FBI’s investigation included all of the so-called
  “Dossier” apparently rested upon its conclusion that, “prior to Buzzfeed’s publication of the full
  Dossier, the FBI also possessed Report 166.” Summary Judgment Order, p. 6. The Court
  presumably made this finding based upon the only evidence in the record to that effect: an
  affidavit signed by FBI Assistant Director Priestap, submitted by Defendants.
         And, according to this Court’s Summary Judgment Order, it was the FBI’s mere
  possession of Report 166, purportedly at the moment of Buzzfeed’s publication, which brought
  that report within the scope of the claimed “official proceedings” – a term the Court defined, in
  this case as either the FBI’s investigation of allegations contained in Steele’s Reports or
  summary briefings provided to Presidents Trump and Obama, based upon “some” of the
  allegations contained in some of the Steele reports. Thus, this Court’s summary judgment order




  4
    Section 74 provides that:
          A civil action cannot be maintained against any person, firm or corporation, for the
          publication of a fair and true report of any judicial proceeding, legislative
          proceeding or other official proceeding, or for any heading of the report which is a
          fair and true headnote of the statement published.
          This section does not apply to a libel contained in any other matter added by any
          person concerned in the publication; or in the report of anything said or done at the
          time and place of such a proceeding which was not a part thereof.
  5
    Steele had created the reports as part of a paid private opposition-research project to compile
  information for the benefit of a political rival to then-candidate Trump
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  turned significantly upon the factual conclusion that the FBI possessed Report 166 at the time of
  those “official proceedings” (and prior to Buzzfeed’s publication).
  II.    The Report of the Office of the Inspector General
         The Horowitz Report was not released until December 9, 2019 (and had not even been
  created until almost a year after summary judgement was granted). Thus, it could not have been
  discovered by Plaintiffs’ counsel or presented to, or considered by, this Court, when summary
  judgment motions were decided.
         But, the OIG’s conclusions have several significant implications for this case – most
  particularly that the FBI did not, in fact, possess Report 166, until it was published by
  Buzzfeed.
         Specifically, on page 94, in discussing Steele’s reporting, the Horowitz Report states that
  Steele’s reports included some that were “provided to the FBI” and “others that were provided to
  the FBI by third parties, as described in Chapter Six.”
         At the end of that sentence, footnote 215 adds: “One report that was not provided to the
  FBI directly [i.e. by Steele] or via third parties was published by BuzzFeed.”
         Later, in the referenced “Chapter Six,” and in describing these “other[]” reports “that
  were provided to the FBI by third parties,” the OIG identifies the only three people from whom
  the FBI ever received Steele reports (other than Steele himself): 1) Mother Jones Reporter David
  Corn; 2) Senator John McCain; and 3) DOJ attorney Bruce Ohr. Id., pp. 175-176, fns. 317-319.
         And, more specifically, footnotes 317, 319 and 320 on pages 175 and 176 establish (by
  process of elimination) that the relevant “[o]ne report” mentioned at footnote 215 – i.e. the one
  “not provided to the FBI” by any source – was Report 166, since every other report published by
  Buzzfeed is accounted-for in those footnotes. 6


  6
   The Steele reports published by Buzzfeed were Report Nos. 80, 86, 94, 95, 97, 100, 101, 102,
  105, 111, 112, 113, 130, 134, 135, 136, and 166. The report numbers have been placed in
  numerical order here for the Court’s convenience. The reports listed in bold are those that the
  Horowitz Report identifies as having been provided to the FBI by some source – any source –
  prior to Buzzfeed’s publication of the same. Compare Exhibit 2 (memoranda as published by
  Buzzfeed) with Horowitz Report, p. 175, fn. 317 (“The nine Steele reports [provided to the FBI
  by a Mother Jones reporter] were Reports 80, 94, 95, 97, 105, 111, 112, 134, and 136. The FBI
  had not previously obtained Reports 97, 105, and 112 from Steele.”); fn. 319 (Indicating that the
  Reports received by the FBI from Senator John McCain “were Steele Reports 80, 86, 94, 95, 97,


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         Indeed, this process of elimination is hardly necessary given that, on p. 176, the Horowitz
  Report straightforwardly states:
         Finally, by early January 2017, BuzzFeed had obtained copies of some of the Steele
         election reports during a meeting with the McCain Institute staff member and
         published them as part of an article titled “These Reports Allege Trump Has Deep
         Ties to Russia.” Included in this collection was Report 166, another report that
         previously had not been shared with the FBI.
  Horowitz Report, p. 176 (emphasis added).
         The OIG reached this conclusion from having “examined more than one million
  documents that were in the Department’s and FBI’s possession and conducted over 170
  interviews involving more than 100 witnesses” including interviews with the then Assistant
  Director of the FBI’s Counterintelligence Division, E.W. “Bill” Priestap, and reviews of
  Priestap’s contemporaneous notes. See, e.g., Horowitz Report, pp. iii and 278. That is the very
  same Priestap who was the sole signatory to the FBI affidavit submitted by Defendants to this
  Court. More specifically, the report details some of its methodology and the information it
  reviewed, including as follows:
         [T]he OIG was given broad access to highly classified information. In July 2018,
         the FBI’s then Assistant Director (AD) for the Counterintelligence Division (CD),
         E.W. “Bill” Priestap, briefed the OIG regarding the FBI CHSs [Confidential
         Human Sources] and UCEs [Undercover Employees] who provided information
         for the Crossfire Hurricane investigation. This briefing was based on CD’s
         knowledge of the Crossfire Hurricane investigation as well as searches of the FBI’s
         Sentinel and Delta databases. In this briefing, Priestap described the FBI’s
         operational use of CHSs other than Steele and his subsources, and use of UCEs in
         the Crossfire Hurricane investigation.
         Separately, the OIG reviewed emails, text messages, and instant messages of the
         FBI agents, analysts, and supervisors working on the Crossfire Hurricane
         investigation, as well as contemporaneous handwritten notes, to identify references
         to CHSs and UCEs.
  Horowitz Report, p. 306.
         The OIG’s findings and conclusions, after extensive and exhaustive interviews with
  Priestap himself, conflict with Priestap’s declaration in this case that the FBI “possess[ed]”



  100, 101, 102, 105, 111, 112, 113, 130, 134, 135, and 136. FBI records show that the FBI had
  not previously received Reports 86, 97, 105, 112 and 113 from Steele.”).


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  Report 166 “prior to 5:20 p.m. EST on January 10, 2017” (D.E. 214-11, p. 3) – a claim which
  includes no information as to the basis for this purported knowledge.
                                             ARGUMENT
  I.     The Court Can and Should Supplement the Record to Include the Horowitz Report,
         an Official Government Record.
         A.      Supplementation is Proper Here.
         The Court’s consideration of Plaintiffs’ Motion to Supplement is governed by the explicit
  order of the Eleventh Circuit to determine, in the first instance (and subject to review), simply
  whether supplementation with the Horowitz Report should be allowed or denied and, if allowed,
  whether that that allowance would cause the court to reverse its grant of summary judgment to
  Defendants by this Court, subject to review by the Eleventh Circuit.
         Frequently, when Courts allow motions to supplement the record, they have done so
  without extensive explanation (for example, after a summary judgment motion has been argued,
  but before it has been decided). See, e.g., Buckler v. Israel, 2016 U.S. Dist. LEXIS 92159, at
  *11 (S.D. Fla. Jan. 28, 2016) (“After the summary judgment briefing concluded, Plaintiffs
  sought to supplement the record with additional discovery that Plaintiffs claim they did not
  receive until January of 2016. Defendant opposes this request, noting that some of this material
  was already in Plaintiffs’ possession and the evidence is presented in a manner more akin to a
  sur-reply. To the extent Plaintiffs rely on additional evidence, the Court has considered this
  evidence in ruling on the motion for summary judgment. Thus, the motion to supplement is
  granted.”); Miller v. Comery, 2014 U.S. Dist. LEXIS 177220, at *1-2 (S.D. Fla. Dec. 24, 2014)
  (“At the hearing of December 3, 2014, the Defendant made an ore tenus motion to supplement
  her two Motions for Summary Judgment to incorporate the deposition testimony of non-party
  eyewitness Wilma Bowney. The Court granted that request and allowed the Defendant to
  provide the Court with the deposition transcript and a corresponding 1-2 page notice
  summarizing the transcript testimony.”).
         Though not constrained here by Rule 60(b)(2), it may be useful for the Court to consider
  the policies expressed by that rule here because the rule envisions the Court providing relief from
  judgment in light of “newly discovered evidence that, with reasonable diligence, could not have
  been discovered….” Here, as outlined above, the Horowitz Report constitutes newly discovered
  evidence that Plaintiffs could not, with reasonable diligence, have discovered prior to the
  deadlines for filing summary judgment motions.
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         In their argument to the Eleventh Circuit, however, Defendants contended that Plaintiffs
  somehow could have discovered facts contained in the Horowitz Report had they simply
  conducted more discovery.
         This argument was, and is, specious.
         First, it was Defendants’ burden to prove every element of their Fair Report Privilege
  affirmative defense. Specifically, it was Defendants’ obligation to produce facts showing that:
  (a) Report 166 was part of an “official proceeding;” 7 (b) Buzzfeed knew that Report 166 was part
  of an “official proceeding” when it published the document; 8 and (c) the average reader of
  Buzzfeed’s article would understand that Buzzfeed was reporting on an official proceeding in
  publishing Report 166. 9
         Defendants nonetheless argue now that Plaintiffs were obliged to pursue the same type of
  elusive and expensive discovery of classified matters that Defendants sought from U.S.
  government agencies, even though much of the information Defendants’ sought was irrelevant to
  the three inquiries above, just as the FBI noted in response to its efforts. Indeed, the vast
  majority of discovery propounded by Defendants was both irrelevant and (then) undiscoverable
  because it was classified. Defendants’ own failure to secure most of what they requested shows
  that any effort by Plaintiffs’ to secure information now available in the Horowitz Report –
  whether or not relevant – would have been futile.
         More specifically, in June of 2017, Defendants sent deposition and document subpoenas
  to the DOJ, FBI, CIA, Office of the Director of National Intelligence, former-FBI Director James
  Comey, former-CIA director John Brennan, and former-DNI James Clapper. Each subpoena
  identified numerous areas of inquiry and multiple categories of documents to be produced. Each
  agency and individual objected to providing documents or testimony.
         In September of 2017, Defendants filed an action in the D.C. District Court to compel
  responses. Buzzfeed v. DOJ, 17-mc-02429-APM. In that litigation, the DOJ argued, inter alia
  (and as Plaintiffs have argued), that the vast majority of Defendants’ requests were irrelevant to
  Defendants’ defenses. See Shayefar Declaration filed herewith, Exhibit A, p. 20 (“It’s true that if



  7
    Appellants’ Opening Brief to Eleventh Circuit (“Opening Brief”), filed herewith as Exhibit 3,
  pp. 37-39; Reply Brief, pp. 41-60.
  8
    Opening Brief, pp. 34-36, 52; Reply Brief, pp. 60-62.
  9
    Opening Brief, pp. 33, 38-45, 51; Reply Brief, pp. 62-64.
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   the DOJ didn’t possess the document on January 10, it would vitiate the privilege. But even if
   the DOJ did have the document on January 10th, it still wouldn’t allow Buzzfeed to assert the
   Fair Report Privilege because they didn’t report that the DOJ possessed the document on that
   day.”); pp. 22-23 (“The article that Buzzfeed published doesn’t report that DOJ possessed all the
   pages of their 35-page embedded document on January 10th. And even if it did, mere possession
   of a document doesn’t constitute an official government action or proceeding within the meaning
   of the Fair Report Privilege in any jurisdiction.”).
          After almost a year of litigation, Defendants failed to obtain a single document or
   deposition they had sought, and instead accepted a three-paragraph affidavit from the DOJ,
   answering three narrowly-tailored questions – answers that failed to actually establish the facts
   Defendants needed to meet their burden. Reply Brief, pp. 55, 59-62. 10
          Defendants also argued to the Eleventh Circuit that Plaintiffs should have moved (in the
   British Courts) to compel further testimony from Christopher Steele, who refused, in his
   deposition, to answer questions about whether he provided copies of Report 166 to U.S.
   government officials, testifying that he “would need consent from my Crown employer to answer
   the question and therefore I choose not to.” Shayefar Declaration, Exhibit B, p. 122:14-16. In
   actuality, however, Plaintiffs took extraordinary steps, both in the United States, and London to
   secure, over objection, any deposition at all from Steele. See D.E. 52, 54, 55, 56, 58, 60; Loble
   Declaration filed herewith, generally. Steele intervened in this Court, opposing Plaintiffs’
   Request for International Judicial Assistance and also fought his deposition in the British Courts.
   See Loble Declaration filed herewith. Moreover, as Mr. Loble states, efforts to compel
   additional answers from Steele would likely have proven costly, time consuming, and –
   ultimately – unsuccessful. Id.
          Even under Rule 60(b)(2), what is required of Plaintiffs is merely “reasonable diligence”
   not expensive fools’ errands.
          Additionally, this Court should consider under what circumstances the Eleventh Circuit
   has found supplementation to be appropriate, even within the more constrained legal
   determinations to be made on appeal, and even when the supplementation is not fully conclusive


   10
      Because Plaintiffs rely extensively on arguments presented in their appellate briefs throughout
   this Motion, they attach the Opening Brief and Reply Brief to the Eleventh Circuit as Exhibits 3
   and 4, respectively, each of which is incorporated herein by reference.
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   of any matter to be determined. See, e.g., Young v. City of Augusta ex rel. DeVaney, 59 F.3d
   1160, 1168 (11th Cir. 1995) (“Factors we have considered in deciding to grant a motion to
   supplement include whether the additional material would be dispositive of pending issues in the
   case[,] and whether interests of justice and judicial economy would thereby be served....
   However, these are only guidelines for exercising our discretion. Even when the added material
   will not conclusively resolve an issue on appeal, we may allow supplementation in the aid of
   making an informed decision.”); Schwartz, 341 F.3d at 1225 n.4 (“Even when the added material
   will not conclusively resolve an issue on appeal, we may allow supplementation in the aid of
   making an informed decision.”); Hinson, 192 F.3d at 1344 n.2 (treating a motion to remand for
   addition of a contract to the record as, instead, a motion to supplement the record with the
   relevant contract, because doing so would result in a “record that will allow us to decide the
   immunity question fairly”).
          Accordingly, this Court should permit the supplementation of the record to include the
   Horowitz Report – either because such supplementation would alter this Court’s determination of
   the Summary Judgment motion, or because such supplementation would provide the Eleventh
   Circuit with a “record that will all [it] to decide the… question fairly.”
          B.      This Court Should Take Judicial Notice of the Horowitz Report and the Findings
                  Contained Therein Just as it Did with the Nunes and Schiff Memos.
          This Court may take judicial notice of the Horowitz Report as a U.S. government
   document. See, e.g., K.T. v. Royal Caribbean Cruises, Ltd., 931 F.3d 1041, 1047-48 (11th Cir.
   2019) (Carnes, CJ., concurring) (taking judicial notice of Cruise Line Incident Reports compiled
   and published by the Department of Transportation pursuant to Fed. R. Evid. 201(b), (d));
   Terrebonne v. Blackburn, 646 F.2d 997, 1000 n.4 (5th Cir. June 1981) (en banc) (“Absent some
   reason for mistrust, courts have not hesitated to take judicial notice of agency records and
   reports.”); Corrie v. Caterpillar, 503 F.3d 974, 978 n.2 (9th Cir. 2007) (taking judicial notice of
   government publication and citing cases for the same); Okoi v. El Al Isr. Airlines, 378 F. App’x
   9, 11 n.1 (2d Cir. 2010) (rejecting a motion to supplement the record for documents offered by
   appellant except “for the final three pages, which contain excerpts of a government publication
   of which this Court may take judicial notice.”).
          Indeed, in reaching its Summary Judgement decision (and at the urging of Appellees),
   this Court took judicial notice of competing memos written by Congressmen Devin Nunes and


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   Adam Schiff. 11 See D.E. 388, p. 4, fn. 5 (finding such documents admissible under FRE
   803(8)(A)(iii) and self-authenticating under FRE 902(5)); D.E. 243, p. 2, fn. 1 (arguing
   admissibility and self-authentication under the same sections). Specifically, this Court held:
           Rule of Evidence 803(8)(A)(iii) provides an exception from the hearsay rule in a
           civil case for “factual findings from a legally authorized investigation.” In a
           discovery dispute arising out of this case, Judge Mehta of the District Court for the
           District of Columbia stated that it “can't be any clearer” that the facts contained in
           the Nunes Memo and other congressional memoranda are admissible under
           803(8)(A)(iii). D.E. 255-2, p. 10. The Court agrees. As to authentication,
           congressional reports are self-authenticating pursuant to Rule of Evidence
           902(5)….
   D.E. 388, p. 4, fn. 5.
           The same rationale should apply to the Horowitz Report.
   II.     The Court Should Issue an Order Stating that Consideration of the Horowitz
           Report Would Reverse the Court’s Previously Issued Summary Judgment Order.
           A.      The Horowitz Report Undercuts a Key Factual Finding Made by This Court.
           It was Defendants’ burden to prove every element of its affirmative defense based on the
   Fair Report Privilege. See, e.g., Saleh v. New York Post, 78 A.D.3d 1149, 1151 (N.Y. App.Div.
   2010) (“The privilege afforded by Civil Rights law § 74 is an affirmative defense....”); Donawa
   v. United States AG, 735 F.3d 1275, 1282 (11th Cir. 2013) (“[T]he defendant bears the burden of
   proving an affirmative defense.”).
           The plain language of §74 excludes from protection “the report of anything said or done
   at the time and place of such a proceeding which was not a part thereof.” (Emphasis added.)
           Defendants therefore had to prove, at a minimum, that the defamatory comments
   contained Report 166 were, in fact, part of an “official proceeding” at the time of Buzzfeed’s
   publication. But Report 166 clearly could not have been part of the only relevant “official
   proceeding” identified by this Court (an FBI investigation) if it hadn’t been received by the FBI
   at the time of publication.
           Moreover, given the Horowitz Report, this Court should conclude that Defendants failed
   to meet their burden of proving that they knew that Report 166 was part of an “official


   11
     This Court found it appropriate to take judicial notice of the facts asserted in the Nunes and
   Schiff memos even though the memos took partisan positions and often reached contradictory
   conclusions. D.E. 388, p. 4. The Horowitz Report, on the other hand, is a comprehensive report
   of a factual investigation by the non-partisan Office of the Inspector General.
                                                    12
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   proceeding” when they published, and had relied on that knowledge in deciding to publish
   Report 166. See Opening Brief, pp. 34-36; Reply Brief, p. 43, fn. 25; pp. 56-57, fn. 28; pp. 61-
   63.
          Defendants’ failure to prove, by a preponderance of evidence, either of these things – that
   the defamation was part of an “official proceeding,” or that Buzzfeed relied on knowledge of that
   fact in its reporting – should be dispositive – leading the Court upon any full remand to deny
   Defendants summary judgment.
           Report 166 clearly could not have been “part” of any “official proceeding” if no person
   who was part of the “official proceeding” even knew of it.
          Defendants contend, however, that, even if the FBI did not possess Report 166, “the
   National Security Council” (i.e. Celeste Wallender), “at least one member of Congress,”
   (Representative Adam Kinzinger) and “the House Speaker’s chief of staff” (John Burks) were in
   possession of Report 166 at the time of publication. 12 It is true that David Kramer testified he
   provided a copy of Report 166 to Wallander, saying she was “someone I have known for many
   years, who I consider ... a friend.” D.E. 214-15, 113:5-8. But Kramer never testified (and this
   Court had no evidence before it) that: he asked Wallander to do anything with the Reports; that
   she was empowered to do anything with them; or that she did do anything with them.
          It is also true that Kramer testified that he provided a copy of Report 166 to
   Representative Kinzinger. But, when specifically asked what Kinzinger did with the Reports,
   Kramer testified merely: “I think he put it in his safe or desk drawer and kept it there. ·I’m not
   aware that he did anything further with it.” Id. at 120:20-23.
          And, Kramer testified only that he showed House Speaker Paul Ryan’s Chief of Staff,
   John Burks, a copy of the Reports, that he didn’t know if Burks “read it all the way through,” and
   that Burks “didn’t have a reaction one way or the other.” D.E. 214-15, 121-22; D.E. 214-15,
   124:24. The record certainly contains no suggestion that any of these three individuals did
   anything with Report 166, provided Report 166 to anyone else, or had the authority to do


   12
     In its summary judgment order, this Court inadvertently stated that Christopher Steele
   provided copies of Report 166 to “Ms. Wallander at the NSC, Representative Adam Kinzinger
   (R-Ill.), and House Speaker Paul Ryan’s Chief of Staff, John Burks,” even though (a) the portion
   of the record to which the Court cites shows that David Kramer gave Report 166 to Wallander
   and Kinzinger, and (b) that Kramer showed a copy of Report 166 to Burks, but did not provide
   him a copy. D.E. 214-2, ¶¶ 34-39.
                                                    13
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   anything with Report 166. Therefore, evidence other than Priestap’s FBI affidavit was
   insufficient even to show mere possession by those actually involved in the “official
   proceedings” claimed. See, e.g., Crucey v. Jackall, 713 N.Y.S.2d 20, 22-24 (App.Div. 2000)
   (“The test is whether the report concerns ‘action taken by a person officially empowered to do
   so.’”).
             Thus, the Horowitz Report also underlines Plaintiffs’ argument that New York cases
   warn courts against using “lexicographer’s precision” only in matching the language of the
   defamatory statement to language used in “proceedings,” Holy Spirit Ass'n for Unification of
   World Christianity v. New York Times Co., 49 N.Y.2d 63, 68 (1979), but require precision in
   ensuring that the defamatory statement be fully “part of” an “official proceeding” – an official
   “action taken by a person officially empowered to do so,” Freeze Right Refrig. & Air
   Conditioning Servs. v City of New York, 101 A.D.2d 175, 182 (N.Y. 1984) – and that it not
   merely “overlap” what was subject to such a proceeding. Fine v. ESPN, Inc., 11 F.Supp.3d 209,
   216 (N.D.N.Y. 2014). 13
             Therefore, the Horowitz Report has fully kicked out the wobbly factual leg upon which
   the Court decided that Report 166 might somehow have been part of an official proceeding.
   And, at minimum, the Horowitz Report creates at least one substantial factual question
   precluding determination of the privilege as a matter of law, thus necessitating a jury trial on the
   disputed issue. For this reason, this Court should inform the Eleventh Circuit that inclusion of
   the Horowitz Report in the record would reverse the court’s previously issued summary
   judgment order.




   13
      The cases decrying a “lexicographer’s precision” stand for the proposition that a reporter who
   is reporting on something that is actually part of a proceeding should be given some latitude in
   how he or she describes that which is part of the proceeding. So, for example, a reporter quoting
   from an affidavit filed in a judicial proceeding should be afforded latitude in reporting on the
   wording of that affidavit (so long as the report is still substantially accurate). The reporter is not
   however to be afforded any latitude in misrepresenting what was actually “part of” the
   proceeding. So, if what the reporter thought was an affidavit filed in court was actually an
   unfiled letter, the reporter could be liable for defamation contained in that letter, even if the
   reporter quoted the letter precisely. And, that makes sense: The “fair report” privilege is
   designed to protect full reporting of proceedings, even when they contain defamatory statements
   – it is not designed to keep the press from having to be careful or accurate in reporting what was
   “part of” official proceedings, or not.
                                                     14
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          B.      The Horowitz Report Makes Clearer That Application of New York’s Fair Report
                  Privilege is Inconsistent with the Public Policy Underlying the Privilege.
          The Horowitz Report also underlines the New York courts’ explicit concerns limiting
   application of the Fair Report Privilege. As Plaintiffs have explained (Opening Brief, pp. 29-31;
   Reply Brief, pp. 43-47), the public policy underlying the application of the Fair Report Privilege
   counsels against extending it to reporting on materials that may have been provided to an
   investigatory body, but which were not themselves relied upon, or truly investigated, as part of
   the official activity. See, e.g., Kelley v. Hearst Corp., 157 N.Y.S.2d 498, 502 (App.Div.
   1956) (“The only reference to official action of any kind in the texts pleaded in the complaint as
   libelous are the words ‘police said’ in the first publication described. The narration in private to
   newspaper reporters by police officers of acts of other persons is not ‘a public and official
   proceeding’ coming within the range of the statute.”); Wynn v. Smith, 117 Nev. 6, 16 (2001)
   (report prepared by Scotland Yard that was “unsubstantiated” was not entitled to protections of
   the fair report privilege: “We conclude that this privilege should not be extended to allow the
   spread of common innuendo that is not afforded the protection accorded to official or judicial
   proceedings.”).
          By exposing the Steele memos as largely “common innuendo” or, as the CIA Intel
   Section Chief classified the Steele reports, “internet rumor” (Horowitz Report, p. 178), the
   Horowitz Report illuminates the wisdom of courts’ reluctance to extend the Fair Report
   Privilege, at the behest of the publishing industry, to classified materials merely overlapping
   official proceedings.
          For this reason as well, this Court should issue an order stating that supplementation of
   the record to include the Horowitz Report would lead it to reverse the court’s previously issued
   summary judgment order upon full remand.




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                                            CONCLUSION
          For the reasons stated hereinabove, and in accordance with the directive from the
   Eleventh Circuit Court of Appeals, Plaintiffs respectfully request that:
          (a)     the Court Order that the record be supplemented to include the Horowitz Report;
                  and
          (b)     the Court Issue an Order informing the Eleventh Circuit Court of Appeals that, on
                  a full remand, the Court would reverse its previously-issued order granting
                  summary judgment to Defendants.


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   Dated: March 23, 2020




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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served electronically

   via the CM/ECF electronic filing system on all counsel for all parties on the date set forth below.

   Dated: March 23, 2020                                /s/ Matthew Shayefar
                                                        Matthew Shayefar




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